   Case: 1:14-cv-04787 Document #: 196 Filed: 07/10/19 Page 1 of 1 PageID #:1557




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOHN LEWERT, individually and on behalf )
of all others similarly situated,       )
                                        )
                Plaintiff,              )            NO. 1:14-cv-04787
                                        )            CONSOLIDATED ACTION
         v.                             )
                                        )            Hon. Elaine E. Bucklo
P.F. CHANG'S CHINA BISTRO, INC.,        )
                                        )            Hon. Maria Valdez
                Defendant.              )

LUCAS KOSNER, individually and on behalf )
of all others similarly situated,        )
                                         )
                Plaintiff,               )
                                         )
P.F. CHANG'S CHINA BISTRO, INC.,         )
                                         )
                Defendant.               )

                       STIPULATION OF VOLUNTARY DISMISSAL

       Plaintiffs JOHN LEWERT and LUCAS KOSNER, on the one hand, and Defendant P.F.

CHANG’S CHINA BISTRO, INC., on the other, hereby stipulate and agree, pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(ii), that Plaintiffs’ claims are hereby dismissed with prejudice as to Plaintiffs

LEWERT and KOSNER and without prejudice as to the claims of any absent class members.

/s/ Katrina Carroll                                   /s/ Josh M. Kantrow
Katrina Carroll                                       Josh M. Kantrow
kcarroll@litedepalma.com                              ARDC # 6231027
Carlson Lynch LLP                                     Josh.Kantrow@lewisbrisbois.com
Chicago Office                                        LEWIS BRISBOIS BISGAARD & SMITH LLP
111 West Washington Drive                             550 West Adams Street, Suite 300
Suite 500                                             Chicago, Illinois 60661
Chicago, IL 60602                                     P: (312) 345-1718 / F: (312) 345-1778
312.750.1265




                                                 1
